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                  UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK


NATURAL RESOURCES DEFENSE
COUNCIL,

                  Plaintiff,

        v.                                     Civil Action No. 17-cv-5928 (JMF)


U.S. ENVIRONMENTAL PROTECTION
AGENCY,

                  Defendant.



    PLAINTIFF NATURAL RESOURCES DEFENSE COUNCIL’S REPLY
MEMORANDUM OF LAW IN FURTHER SUPPORT OF ITS CROSS-MOTION FOR
                    SUMMARY JUDGMENT




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       Plaintiff Natural Resources Defense Council (“NRDC”) respectfully submits this reply

memorandum in further support of NRDC’s Cross-Motion for Summary Judgment.

I. ARGUMENT

       Defendant U.S. Environmental Protection Agency (“EPA”) argues in its opposition and

reply brief of June 5, 2020 (“EPA Reply Br.”) that it may withhold a record pursuant to

Exemption 5 of FOIA and the deliberative process privilege so long as the record is related or

relevant to some ongoing agency policymaking decision. See EPA Reply Br. at 5. But relevance

is not the test. Rather, the record must have been “specifically prepared for use by” the agency

to aid in arriving at a particular policymaking decision. Tigue v. U.S. Dep’t of Justice, 312 F.3d

70, 80 (2d Cir. 2002); see also Nat’l Council of La Raza v. Dep’t of Justice, 411 F.3d 350, 356

(2d Cir. 2005) (agency must show that a record was “prepared in order to assist an agency

decisionmaker in arriving at his decision”). EPA has failed to show that the second tranche

records at issue are both predecisional and deliberative for the reasons set forth in NRDC’s brief

of May 4, 2020 (“NRDC Br.”). NRDC makes a number of additional points in reply to EPA’s

Reply Brief below.

   A. The Court should decide whether EPA has shown that Document Nos. 26339 and
      10238 are privileged.

       “Messaging” records “reflect[] internal deliberations by EPA staff about how the agency

should communicate its policies to people outside the agency.” Opinion and Order of August 30,

2019, ECF No. 57, at 16 (emphasis added) (“August 30 Order”). Although EPA asserts in its

Vaughn index that Document Nos. 26339 and 10238 reflect preparations for communicating with

outside entities, the substance of those communications did not concern, according to EPA’s

assertions, policy decisions themselves. See EPA Vaughn index at 1-2, 3-4. Document Nos.

26339 and 10238 are therefore not evidently messaging records as defined in the August 30



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Order. Because these records do not appear to be messaging records, their exempt status will not

be affected by EPA’s pending Second Circuit appeal, and the Court should determine whether

they are exempt.

        In contending that Document No. 26339 is a messaging record, EPA likens it to

Document No. 5427, a record which EPA asserts the Court held was a “‘messaging decision.’”

EPA Reply Br. at 2. But this comparison fails at the threshold. Despite EPA’s assertion to the

contrary, the Court found that Document No. 5427 was a non-exempt “briefing” record. August

30 Order at 22-23, 38 (including Document No. 5427 in the discussion of “Briefing Documents”

and categorizing that record as “Briefing (TSCA Framework Rules)” rather than “Messaging”).

Because Document Nos. 26339 and 10238 do not appear to be messaging records, they should

not be “set aside” until EPA’s pending appeal on that issue is resolved. See EPA Reply Br. at 1-

2.

        Nor is it NRDC’s burden to prove that Document Nos. 26339 and 10238 are not

messaging records, or to show that EPA’s indecision over how to categorize these records was

unjustified. NRDC only noted in its brief that the records are not evidently messaging records,

and that EPA failed to tell NRDC that EPA would re-categorize the records as messaging records

by the court-ordered deadline of January 21, 2020. NRDC Br. at 13-14. Because EPA’s Vaughn

index does not establish that these records are exempt, see NRDC Br. at 11-14, the Court can and

should order them disclosed. If there is any doubt about whether these two records are

messaging records, an in camera review will enable the Court to make that determination.

     B. EPA fails to justify the “material change[]” to its draft Vaughn index entry for
        Document No. 26339.

        As contemplated by the parties, EPA made several edits to its “draft” Vaughn index with

respect to all five second-tranche records at issue. Compare Tallman Decl. Ex. 3, ECF No. 95-3,



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with EPA Vaughn index. But EPA did not merely “‘add[] factual support’” to its draft

justification for withholding portions of Document No. 26339. See EPA Reply Br. at 4. Rather,

as NRDC described in its brief, EPA made a “wholesale, material change[]” to its initial

justification for withholding portions of that record—despite EPA’s representation that it would

not do so. See Joint Letter of Jan. 27, 2020, ECF No. 82, at 4; NRDC Br. at 12-13.

       EPA’s “draft” Vaughn index characterized Document No. 26339 as one that merely

“concerns the TSCA Framework Rules” and that was prepared for the purpose of an upcoming

meeting with a representative of Chemours Company. Tallman Decl. Ex. 3 at 24. Although

EPA observed in its “draft” Vaughn entry that “underlying policy issues [are] raised by those

meetings,” id., it made no effort to tie that the record to a particular policymaking decision. As

NRDC explained in its brief, EPA made new assertions in its “final” Vaughn index in an

apparent—albeit unsuccessful—attempt to connect the purpose of Document No. 26339 to the

TSCA Framework Rules rulemaking process. See EPA Vaughn index at 2; NRDC Br. at 12-13.

       Although EPA acknowledges the revisions regarding Document No. 26339, it leaves

unanswered NRDC’s point that the changes for that record were “material,” and it ignores the

prejudice to NRDC that results when EPA takes, without the Court’s permission, a second

chance to tailor a withholding justification that NRDC challenged as insufficient. See EPA

Reply Br. at 3-4. In any case, even EPA’s final Vaughn index fails to show that Document No.

26339 is protected by the deliberative process privilege. See NRDC Br. at 11-13.

   C. EPA fails to show that Document Nos. 1370 and 6761 are predecisional or
      deliberative.

       For the reasons set forth in NRDC’s Brief, EPA fails to show that Document Nos. 1370

and 6761 are deliberative or predecisional to the chlorpyrifos registration review decision. See

NRDC Br. at 14-16. EPA argues that these two records are “similar” to other records regarding



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the chlorpyrifos registration review that the Court held were protected by the deliberative process

privilege. EPA Reply Br. at 6 (citing August 30 Order at 22-23). Once again, comparing EPA’s

Vaughn submissions for the respective records only underscores EPA’s inability to show that

Document Nos. 1370 and 6761 were prepared specifically to facilitate EPA’s chlorpyrifos

registration review decision. EPA points to records discussed in the August 30 Order, but those

records reflect deliberations about a particular policymaking decision. For example, Document

No. 26227 contains “pre-decisional deliberations between two senior managers about the

registration review process for glyphosate and other pending pesticides review actions.” Vaughn

index I, ECF No. 36-1, at 77.

       By comparison, EPA does not assert in its Vaughn index that Document Nos. 1370 and

6761 reflect deliberations about the chlorpyrifos registration review decision. Rather, EPA

asserts that the records reflect discussion about academic literature or studies on chlorpyrifos.

That some of the literature may “support[] the Agency’s overall decisionmaking process for the

ongoing chlorpyrifos registration review,” Vaughn index at 6, is of no moment. It does not

follow from the facts that a study concerned chlorpyrifos and that the study was consistent with

the agency’s approach that all agency communications concerning that study were prepared to

assist in the policy decision concerning the chlorpyrifos registration review and are exempt from

disclosure. See Grand Cent. P’ship, Inc. v. Cuomo, 166 F.3d 473, 482 (2d Cir. 1999). Were the

deliberative process privilege to extend to these records, then any agency record relating to the

chemical chlorpyrifos that is created during the same years-long span of time as the registration

review would be exempt, no matter how “peripheral to actual policy formation” it is. See id.

   D. EPA fails to show that Document No. 14043 is predecisional or deliberative.

       EPA’s contention that Document No. 14043 is exempt because compiling an

administrative record “involves decisions,” EPA Reply Br. at 7, is misguided. Not every


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decision is deliberative for purposes of FOIA’s exemptions. As this Court repeatedly observed,

only deliberations regarding “substantive” policymaking decisions are protected by the

deliberative process privilege. See Aug. 30 Order at 16, 17, 20, 21. Compiling an administrative

record is the antithesis of discretionary action or policy formation—the agency’s decisions must

adhere to a settled body of law that guides the agency’s process, as EPA acknowledges. See

EPA Br. at 7 (citing Maritel, Inc. v. Collins, 422 F. Supp. 2d 188 (D.D.C. 2006)); see also

NRDC Br. at 16-17. A “decision” about whether the agency in fact “directly or indirectly

considered” a record during a rulemaking, EPA Reply Br. at 7-8, is a factual inquiry about what

documents the agency reviewed, not a policy-oriented judgment. Nor does EPA assert that

Document No. 14043 reflects deliberations about any other discretionary or policy decisions.

       Finally, contrary to EPA’s far-fetched contentions, EPA Reply Br. at 7, disclosing an

email regarding the compilation of an administrative record would not jeopardize the notice and

comment rulemaking process. The importance of notice and comment, and the cases EPA cites

to that effect, are irrelevant to the question here: namely, whether EPA has shown that Document

No. 14043 is protected by the deliberative process privilege. For the reasons stated in NRDC’s

Brief and above, EPA has not done so.

   E. EPA has not adequately shown that disclosure of the withheld portions of records
      would foreseeably harm its deliberative process.

       To meet FOIA’s foreseeable harm standard, 5 U.S.C. § 552(a)(8)(A)(i), EPA must make

more than boilerplate assertions that disclosure of the withheld portions of records would chill

speech within the agency. Rather, EPA must “sufficiently explain how [these] particular

Exemption 5 withholding[s] would harm the agency’s deliberative process.” Memorandum




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Opinion and Order of July 25, 2019, ECF No. 53, at 2 (emphasis in original) (internal quotation

omitted). EPA has failed to do so.

       EPA tries to shoehorn records that have no evident connection to the Framework Rules

rulemaking into EPA’s assertions of foreseeable harm. Document Nos. 26339, 14043, and

10238 relate to an upcoming Congressional budget hearing, a meeting with a chemical company,

and compiling the administrative record for the Framework Rules. Although EPA argues

generally that disclosure of records reflecting deliberations about the Framework Rules

rulemaking could harm the agency’s deliberative process, see Myrick Decl. ¶¶ 20-22, it has

wholly failed to show that disclosure of these records would chill discussion in a way that

foreseeably harms the agency’s deliberative process. EPA thus fails to establish a “link”

between harm to its deliberative process “and the specific information contained in the material

withheld.” Judicial Watch, Inc. v. U.S. Dep’t of Commerce, 375 F.Supp.3d 93, 100, 101 (D.D.C.

2019). EPA likewise fails to establish a link between the information in Document Nos. 1370

and 6761 and foreseeable harm to its deliberative process with respect to the chlorpyrifos

registration review decision. See Myrick Decl. ¶¶ 25-26.

       EPA also argues that it has shown that disclosure of the records would cause public

confusion about official agency policy. EPA Reply Br. at 8. This argument is unconvincing.

There is no basis for EPA’s claim that anyone would mistake the information in these records—

which relate, for instance, to meetings with stakeholders or academic literature—for an

alternative ground for a final rule. Indeed, despite EPA’s characterization in its Reply Brief, it

has asserted only that the withheld portions of records “could” be misconstrued as official policy.

Myrick Decl. ¶ 22; see also id. ¶ 25 (“[S]cientific deliberations that are prematurely released

could be misconstrued as the Agency’s definitive view of the review process.” (emphasis




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added)). Assertions that disclosure of the records “could” harm the agency’s deliberative process

are insufficient, because FOIA “requires more than speculation.” Judicial Watch, 375 F. Supp.

3d at 101 (“The question is not whether disclosure could chill speech, but rather if it is

reasonably foreseeable that it will chill speech . . . .” (emphases added)).

   F. In camera review of the five second-tranche records and a subset of other records is
      appropriate.

       EPA misstates the scope of NRDC’s in camera review request. NRDC does not seek, as

EPA claims, in camera review of “89 records” or of “dozens of records.” EPA Reply Br. at 9,

10. Rather, NRDC requests in camera review of the five second-tranche records to the extent the

Court determines it is necessary. NRDC Br. at 20-21. In addition, NRDC requests that the

Court review in camera a subset of 74 records to ensure that EPA has released all reasonably

segregable, non-exempt information in those records. NRDC Br. at 21. The number of records

in that subset NRDC leaves to the Court’s discretion. A sample of no more than 10 of the 74

records would be necessary to determine whether EPA has complied with FOIA’s disclosure

requirements. In camera review is particularly warranted here for the reasons set forth in

NRDC’s Brief. NRDC Br. at 5-8, 20-21.

       EPA attempts to justify its series of disclosures of second tranche records by stating that

“‘the passage of time has reduced any potential harm from disclosure’ of certain records.” EPA

Reply Br. at 10 (quoting Myrick Decl. ¶ 10). But it is far from clear how this statement explains

EPA’s relatively few disclosures of the 64 first-tranche records. For one thing, neither EPA’s

Reply Brief nor its disclosure cover letters state whether EPA still considers the disclosed

records to be protected by the deliberative process privilege. See, e.g., Myrick Decl. Ex. 5 (“The

Agency has identified additional segregable, non-exempt material for release that is now being

produced. In some cases, the Agency is making a discretionary release of information in light of



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the passage of time since the initial withholding which has resulted in reduced harm from

disclosure.”). Nor does EPA state which of the records were released because of the “passage of

time” and which were released for other reasons. In any case, EPA’s “passage of time”

explanation fails to account for the glaring discrepancy between the high proportion of second

tranche records it disclosed and the low proportion of records it disclosed from the set of 64

records that it was ordered to re-review for segregable, non-exempt information.

II. CONCLUSION

       For the reasons stated above and in NRDC’s memorandum of law in support of its cross-

motion for summary judgment, this Court should grant NRDC’s cross-motion for summary

judgment and deny EPA’s second motion for summary judgment.

                                              Respectfully submitted,

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